CaSeZO4-12227-JSD DOC#ZJ_S Filed209/21/04 Entered209/21/04 OOZOOZOO Page:l Ofl

 

United States Bankruptcy Court

For the Southern Distriet of Georgia

In the matter of:
Chapter 13
ELEANOR JEAN HAMILTON
XXx-)oz-9579 Case Nurnber 04-12227-JSD

1067 EARLE STREET NW
'IHOMSON, GA 30824
Debtor(s)

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ORDER AND NOTICE TO SHOW CAUSE
WHY CASE SHOULD NOT BE DISMISSED

The captioned case is subject to dismissal for the following reason(s):
Debtor(s) failed to appear at the Meeting of Creditors
IT IS HEREBY ORDERED that unless Debtor(s) or other parties in interest request to be heard

in writing on or before October 13, 2004 , said case will be dismissed WITH PREJUDICE barring
the refiling of a petition within 180 days.

 

hn S. Dalis

United States Bankruptcy Judge
P. O. BOX 1487
Augusta, Georgia 30903

Dated September 21, 2004

B-19 [Rev. 5!96] CP

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